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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION


UNITED STATES OF AMERICA,                 )
                                          )
            Plaintiff,                    )
                                          )
      vs.                                 )
                                          )    Case No. 4:05CR00230 SNL (AGF)
DERRICK RIVERS,                           )
                                          )
            Defendant.                    )

                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

       This matter is before the Court on the pretrial motion to sever filed by Defendant,

Derrick Rivers. Pretrial matters were referred to the undersigned United States

Magistrate Judge under 28 U.S.C. § 636(b). A hearing was held on September 2, 2005.

The government was represented by Assistant United States Attorney James C. Delworth.

Defendant was present and represented by his attorney, Robert S. Adler. At that time,

Defendant waived his right to file any evidentiary motions, but was given leave to file a

motion to sever. Defendant filed a motion to sever on September 13, 2005 (Doc. #145),

and the government thereafter filed a response, after which the matter was taken under

submission. Trial is scheduled for October 31, 2005.

                                     Motion to Sever

       Defendant Rivers is charged with seven other defendants with conspiracy to

distribute and possess with intent to distribute in excess of one kilogram of heroin, in
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violation of 21 U.S.C. §§ 841(a)(1) and 846. As set forth by the government in its

opposition to Defendant’s motion (Doc. #151):

       The discovery presented to the defense reflects that co-defendant Adams
       supplied defendant Rivers as well as co-defendants Purtty and Brown with
       heroin that was supplied to Adams by co-defendant Cruz Arreola facilitated
       through co-defendants Sanchez-Tovar and Arreola. This was corroborated
       through Title III wiretaps including intercepted conversations between
       defendant Rivers and co-defendant Adams.

       Defendant has filed a motion to sever, requesting that his case be tried separately

from that of the co-defendants. Defendant asserts that a severance is required under Rule

14, Fed. R. Crim. P., because (i) the majority of the evidence and intercepted telephone

calls relates to the co-defendants; (ii) some electronic evidence includes conversations by

co-defendants regarding Defendant, and without a severance Defendant cannot call the

co-defendants or cross-examine them; (iii) his defense may be dependant on the

testimony of co-defendants; (iv) inculpatory statements may have been made by co-

defendants to investigating officers that would not be admissible against Defendant in a

separate trial; and (v) if some or all of the co-defendants elect to testify, Defendant would

be forced to testify.

       “When a defendant moves for a severance, the [Court] must first determine

whether joinder is proper under Federal Rules of Criminal Procedure 8. If joinder is

proper, the Court still has discretion to order a severance under Federal Rules of Criminal

Procedure 14.” United States v. Darden, 70 F.3d 1507, 1526 (8th Cir. 1995). These rules

are to be liberally construed in favor of joinder. Id.


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       Here, Defendant does not assert that joinder is improper. Nevertheless, Rule 14,

Fed. R. Crim. P., provides that a defendant’s trial may be severed from the trial of co-

defendants “[i]f it appears that a defendant or the government is prejudiced by a joinder.”

Fed. R. Crim. P. Rule 14. “When joinder is proper under Rule 8, the defendant seeking a

severance has the burden to demonstrate how the joint trial prejudiced his or her right to a

fair trial.” Darden, 70 F.3d at 1527. “There is a preference in the federal system for joint

trial of defendants who are indicted together.” Zafiro v. United States, 506 U.S. 534, 537

(1993). Severance is to be granted only if there is a “serious risk that a joint trial would

compromise a specific trial right of a properly joined defendant or prevent the jury from

making a reliable judgment about guilt or innocence.” Id. at 539. “Rarely, if ever, will it

be improper for co-conspirators to be tried together.” United States v. Stephenson, 924

F.2d 753, 761 (8th Cir.), cert. denied, 502 U.S. 813 (1991); United States v. Drew, 894

F.2d 965, 968 (8th Cir.), cert. denied, 494 U.S. 1089 (1990).

       Further, “it is well settled that defendants are not entitled to severance merely

because they may have a better chance of acquittal in separate trials.” Zafiro, 506 U.S. at

540. See also Layton v. South Dakota, 918 F.2d 739, 744 (8th Cir. 1990), cert. denied,

499 U.S. 953 (1991). Severance is not to be granted merely because co-defendants have

conflicting defenses. Zafiro, 506 U.S. at 538. See also United States v. Garrett, 961 F.2d

743, 746 (8th Cir. 1992) (the fact that each defendant has his or her own personal interest

at stake is not a sufficient ground to require separate trials). Instead, the moving

defendant must make a showing that a jury would be unable to compartmentalize

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evidence as it relates to each defendant. Id. Likewise, severance is not required if the

evidence against a co-defendant is more damaging, United States v. Pou, 953 F.2d 363,

369 (8th Cir.), cert. denied, 504 U.S. 363 (1992); if the defendant’s role in the conspiracy

is minor, United States v. Pecina, 956 F.2d 186, 188 (1992); or if all of the evidence will

not be admissible against all co-defendants, United States v. Sparks, 949 F.2d 1023, 1027

(8th Cir. 1991), cert. denied, 504 U.S. 927 (1992).

       Here, Defendant has failed to demonstrate that the jury would not be able to

compartmentalize the evidence against Defendant, and as such, his arguments regarding

the quantum of evidence fail. Severance “is not required ‘simply’ because the evidence

against one defendant is more damaging than the evidence against another,” or “because

evidence may be admissible as to one defendant but not as to another.” United States v.

Roach, 28 F.3d 729, 738 (8th Cir. 1994) (interim quotations omitted). Defendant’s

general allegations of prejudice are not a sufficient basis on which to sever his case for

trial. See id. (affirming denial of severance to co-defendant who failed to identify any

evidence that would not have been admitted had she been tried alone).

       Defendant further asserts that severance is necessary to permit him to call co-

defendants in his defense, which he asserts he cannot do if the defendants are tried

together. In order to support his request for severance on this ground, Defendant must

show that 1) he would call a co-defendant as a witness at a separate trial; 2) the co-

defendant would testify at this trial; and 3) the testimony of the co-defendant would be

exculpatory. United States v. Voss, 787 F.2d 393, 401 (8th Cir.), cert. denied, 479 U.S.

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888 (1986). Defendant has failed to meet any of these requirements. See Darden, 70

F.3d at 1527 (no abuse of discretion in denial of severance requested on grounds that

movant was deprived of co-defendant’s testimony, noting that the movant must show that

the unavailable testimony would be substantially exculpatory); United States v. Oakie, 12

F.3d 1436, 1441 (8th Cir. 1993) (co-defendant’s testimony must be “substantially

exculpatory”; it is not enough that the testimony would “tend to contradict a few details

of the government’s case”). Furthermore, one of the co-defendants has already scheduled

a change of plea, it is likely that by the time of trial, the charges with respect to one or

more of the remaining co-defendants will have been resolved.

       Nor do Defendant’s arguments regarding the conversations or statements of co-

defendants provide a basis for severance under Bruton v. United States, 391 U.S. 123

(1968). The government has asserted that any references to Defendant in any statements

by co-defendants post-arrest will be redacted, consistent with Richardson v. March, 481

U.S. 200 (1987). Moreover, any statements of coconspirators made during the course of

the conspiracy would be admissible against Defendant, even in a separate trial, under

FRE Rule 801(d)(2)(E).

       For the above reasons, Defendant’s motion to sever should be denied without

prejudice to Defendant reasserting his request prior to trial if Defendant is able, at that

time, to make the proper showing that any such co-defendant would, indeed, offer

substantially exculpatory testimony or that the government intended to offer the

statements of co-defendants that would violate Bruton.

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       Accordingly,

       IT IS HEREBY RECOMMENDED that Defendant’s Motion for Severance

[Doc. No. 145] be denied, without prejudice.

       The parties are advised that they have ten (10) days in which to file written

objections to this report and recommendation pursuant to 28 U.S.C. §636(b)(1), unless an

extension of time for good cause is obtained, and that failure to file timely objections may

result in a waiver of the right to appeal questions of fact. See Thompson v. Nix, 897 F.2d

356 (8th Cir.1990).


                                          _________________________________
                                          AUDREY G. FLEISSIG
                                          United States Magistrate Judge

Dated this 5th day of October, 2005.




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